Case 21-04407 Document 65-8 Filed in TXSB on 05/04/22 Page 1 of 2




                 Exhibit 8
                              Case 21-04407 Document 65-8
                                                     57-1 Filed in TXSB on 05/04/22
                                                                           03/02/22 Page 2 of 2




                                                                                                  46285 • SWEPGO • TURK

            908087 • ONG • MARIETTA



       44656-ACCESS-STATE PARKA-1

        905317 - TARGA - MC ENVILLE                         44439 • MEP

         1901557- VISTATEX#2 - MARS

                  40000 - ONG - LITTLE CITY

                                                                                         25717 -NORBORD - MARION

                                                                                                               LOUISIANA
                                                                                                                           j9005!


                                        45310 -AZU E IETG

TEXAS                                    ~


                                       5579 - KMTP- GOODRICH



                             !41359- FAMCOR-OGLETREE #1 ~

                             48381 - E TX ELE- ETECUNIT#1




                   ~-~
                   905231 - KMTP- KATY
                                       =~--:='~-
                                              ~
                                                               _:=-,~--
 I47140- CENTERPOINT- KATYM
 90B197• E STOR· KATY STD




47760- SIENERGY
